                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 UNITED STATES OF AMERICA                          )
                                                   )
                                                   )      No. 3:10-CR-159-8
 V.                                                )      (VARLAN/SHIRLEY)
                                                   )
                                                   )
 ROGER GERRID BUSSELL                              )

                     ORDER OF TEMPORARY DETENTION
              PENDING HEARING PURSUANT TO BAIL REFORM ACT


               An initial appearance and arraignment were held in this case on May 5, 2011.

 Alexandra Hui, Assistant United States Attorney, was present representing the government,

 and Julie A. Rice, was present representing the defendant. Upon motion of the government

 for detention stating he is a danger to the community and pursuant to 18 U.S.C. Section 3142,

 it is ordered that a detention hearing be scheduled. Therefore, a detention hearing is

 scheduled for Monday, May 9, 2011 at 1:30 p.m., before the undersigned.

               For good cause shown, the defendant’s request not to contest, and to waive the

 detention hearing is hereby GRANTED.

               It is therefore ORDERED that:

               (1)    Defendant be detained.;

               (2)    Defendant be committed to the custody of the Attorney
                      General for confinement in a corrections facility separate, to
                      the extent practicable, from persons awaiting or serving
                      sentences or being held in custody pending appeal;

               (3)    Defendant be afforded reasonable opportunity for private



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                  consultation with counsel; and

            (4)   On order of a court of the United States or on request of an
                  attorney for the government, the person in charge of the
                  corrections facility in which the defendant is confined
                  deliver the defendant to a United States marshal for the
                  purpose of an appearance in connection with any court
                  proceeding.

            IT IS SO ORDERED.


                                ENTERED:

                                         s/ C. Clifford Shirley, Jr.
                                       United States Magistrate Judge




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